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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

EVON N. HUGHES                                                             PLAINTIFF


V.                                    4:20CV01160 JM


DAVID LEE RUSSELL, ERIC EVANS,
AND SHARON MARIE PROPERTIES LLC                                           DEFENDANTS



                                            ORDER

       The Court has been notified by the Plaintiff that her claims against Defendants Eric

Evans and Sharon Marie Properties LLC have been settled. The Court will set a hearing to

determine damages owed by Defendant David Lee Russell when a motion for default judgment

pursuant to Rule 55(b)(2) has been filed.

       IT IS THEREFORE ORDERED that the claims against Defendants Eric Evans and

Sharon Marie Properties LLC are dismissed with prejudice. The motion to dismiss (ECF No. 33)

is GRANTED.

       Dated this 3rd day of November, 2021.



                                                    ____________________________
                                                    James M. Moody Jr.
                                                    United States District Judge
